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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

TRACY ARNOLD, as the Personal                    §
Representative of the Estate of                  §
DARIN W. ARNOLD, deceased,                       §
                                                 §
        Plaintiff,                               §
                                                 §
v.                                               §    Civil Action No. 3:18-CV-1931-L
                                                 §
BNSF RAILWAY COMPANY f/k/a                       §
Burlington Northern and Santa Fe                 §
Railway Company,                                 §
                                                 §
        Defendant.                               §

                     AMENDED MEMORANDUM OPINION AND ORDER

        The court vacates its memorandum opinion and order entered earlier today (Doc. 23) and

issues this amended memorandum opinion and order in its place. Before the court is Defendant’s

Motion for More Definite Statement and Motion for Lone Pine Order (Doc. 17), filed December 6,

2018. After considering the motions, response, reply, pleadings, and applicable law, the court denies

Defendant’s Motion for More Definite Statement, denies the Motion for Lone Pine Order, and

denies Defendant’s alternative request to file a “no-evidence” summary judgment motion at this

early stage of the case (Doc. 17).

I.      Factual and Procedural Background

        Darin W. Arnold (the “Decedent”) died on July 30, 2018, after working for Burlington

Northern and Santa Fe Railway Company (“Defendant”) for 22 years. On behalf of the Decedent’s

estate, Tracy Arnold (“Plaintiff”), the Decedent’s wife, sued Defendant for negligence under the

Federal Employers Liability Act (“FELA”), 45 U.S.C. § 51 et seq., and violations of the Federal

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Locomotive Inspection Act (“LIA”), 49 U.S.C. § 20701, alleging that the Decedent’s death was

caused by his exposure to toxic substances and known carcinogens while working on the

Defendant’s railroad during his employment. Plaintiff alleges that the Decedent “worked out of

[Defendant’s] Cherokee Yard in Tulsa, OK[,] from which he made runs to Ardmore, OK;

Springfield, MO; Madill, OK[;] and [] Dallas, TX” and was also “temporarily based in the Dallas

Yard.” Plaintiff seeks damages in the amount of $400,000. Pl.’s Compl. ¶ 5.

         On December 6, 2018, Defendant moved for a more definite statement under Federal Rule

of Civil Procedure 12(e). Defendant also moved for entry of a Lone Pine order. Among other things,

Defendant contends that Plaintiff has failed to identify the chemicals to which the Decedent was

exposed, the location of his exposure, and the date of his initial exposure.1 On December 26th, 2018,

Plaintiff filed a response to both the motion for more definite statement and the motion for a Lone

Pine order, to which Defendant replied on January 8, 2019, making the motions ripe for resolution.

II.      Motion for More Definite Statement

         A.        Rule 8(a) and Rule 12(e) Legal Standard

         Rule 8(a)(2) of the Federal Rules of Civil Procedure requires a pleading to contain “a short

and plain statement of the claim showing that the pleader is entitled to relief.” Rule 8 only requires


         1
           Defendant also argues, in passing, that a more definite statement is needed to determine why venue is proper
in the Dallas Division of the Northern District of Texas, as opposed to the Fort Worth Division of the Northern District
of Texas, where Defendant is headquartered. Defendant acknowledges that venue in the Northern District of Texas is
proper but appears to contend that the Fort Worth Division would be a more convenient. Plaintiff alleges that the
Decedent was exposed to toxic chemicals while working for Defendant in Dallas, Texas, as well as other areas of
Defendant’s railroad. As Dallas, Texas, is located in Dallas County, which in turn is located in the Northern District of
Texas, 28 U.S.C. § 124(a)(1), Plaintiff’s venue allegations are sufficient to establish that venue in the Northern District
of Texas is proper under 28 U.S.C. § 1391(b)(2). While Defendant contends that it requires more information to support
a defense of improper venue under Rule 12(b)(3), it is not incumbent on Plaintiff to allege facts to support this or any
other defense that Defendant may wish to assert. Further, as Defendant has not moved to transfer venue to the Fort Worth
Division for the convenience of the parties and witnesses, or to dismiss this action based on improper venue, the court
does not consider this issue in ruling on its current motions, except to the extent noted here, as it determines that this is
not a proper basis for seeking a more definite statement under Rule 12(e).

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“notice” pleading. Accordingly, it is not necessary that the pleader set forth each and every factual

allegation supporting a claim. The “short and plain statement,” however, must contain sufficient

allegations of fact “that will give the defendant fair notice of what the plaintiff’s claim is and the

grounds upon which it rests.” Leatherman v. Tarrant Cty. Narcotics Intell. & Coordination Unit, 507

U.S. 163, 168 (1993) (internal quotation marks and citation omitted). A motion for a more definite

statement under Rule 12(e) should be granted to clarify the complaint only when the complaint is

so unintelligible that the court cannot “make out one or more potentially viable legal theories,” and

is “so vague or ambiguous that the opposing party cannot respond, even with a simple denial, in

good faith or without prejudice to itself.” Sefton v. Jew, 204 F.R.D. 104, 106 (W.D. Tex. 2000).

When a respondent complains of matters that could be answered via discovery, a motion for more

definite statement is not warranted. Arista Records, LLC v. Greubel, 453 F. Supp. 2d 961, 972 (N.D.

Tex. 2006).

       B.      Law Applicable to Claims Brought Under FELA and for LIA Violations

       As noted, Plaintiff asserts a claim under FELA for negligence and alleges that Defendant

violated the LIA. “Under [the] FELA, an injured railroad employee may recover damages for ‘injury

or death resulting in whole or in part from the negligence’ of the railroad.” Huffman v. Union Pac.

R.R., 675 F.3d 412, 416 (5th Cir. 2012) (quoting 45 U.S.C. § 51). The FELA provides the exclusive

remedy for a railroad employee engaged in interstate commerce who suffers an injury that is caused

by a railroad employer’s negligence. Id. (citation omitted). It requires a railroad to provide “a

reasonably safe work environment for its employees.” Huffman , 675 F.3d at 417 (citing Urie v.

Thompson, 337 U.S. 163, 179 n.16 (1949)). Thus, the question that arises in most FELA cases is

“whether the railroad exercised reasonable care in creating a reasonably safe working environment.”


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Rivera v. Union Pac. R. Co., 378 F.3d 502, 507 (5th Cir. 2004). Negligence under the FELA “exists

if the defendant railroad ‘knew, or by the exercise of due care should have known’ that its conduct

was ‘inadequate to protect [the plaintiff] and similarly situated employees.’” Huffman , 675 F.3d

at 417 (quoting Urie, 337 U.S. at 178). A claim for negligence under the FELA requires factual

allegations that support a “breach of [the] standard of care, causation, and damages.” Huffman, 675

F.3d at 419 (citing Consolidated Rail Corp. v. Gottshall, 512 U.S. 532, 540 (1994)). When “an

injury has multiple causes, it is sufficient if the railroad’s ‘negligence played a part—no matter how

small—in bringing about the injury.’” Huffman, 675 F.3d at 419 (quoting CSX Transp., Inc. v.

McBride, 564 U.S. 685, 698 (2011)).

       The LIA, formerly known as the Boiler Inspection Act, amended the FELA “substantively

if not in form.” Urie, 337 U.S. at 189. The LIA is not a basis for liability; rather, it imposes an

absolute and continuing duty on a railroad carrier to provide safe equipment. Danko v. Union Pac.

R. Co., No. 405-CV-153-BE, 2007 WL 1854059, at *5 (N.D. Tex. June 28, 2007) (citing Urie, 337

U.S. at 188-89, which explained that a cause of action under the LIA is brought as an FELA action).

The LIA provides:

       A railroad carrier may use or allow to be used a locomotive or tender on its railroad
       line only when the locomotive or tender and its parts or appurtenances—

       (1) are in proper condition and safe to operate without unnecessary danger of
       personal injury;

       (2) have been inspected as required under this chapter and regulations prescribed by
       the Secretary of Transportation under this chapter; and

       (3) can withstand every test prescribed by the Secretary under this chapter.




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49 U.S.C. § 20701. The LIA “is a safety statute which is to be liberally construed to afford protection

to railroad employees.” Weaver v. Missouri Pac. R. Co., 152 F.3d 427, 430 (5th Cir. 1998) (citation

omitted). Proof of a violation of the LIA “is effective to show negligence [under the FELA] as a

matter of law.” Id.

       C.      Analysis

       The allegations in the Amended Complaint (“Complaint”) (Doc. 3) regarding Plaintiff’s

claim under the FELA for negligence and violations of the LIA are sufficient for purposes of Rule

8. Plaintiff alleges that the Decedent was “exposed to various toxic substances and carcinogens such

as diesel fuel/fumes/exhaust, petroleum distillates            vapors, herbicides, creosote        and

rock/mineral/asbestos dust and fibers” while working in Defendant’s railroad “yards, buildings,

locomotives and along right of ways” in Oklahoma, Missouris, and Texas. Pl.’s Compl. ¶ 5. The

Complaint lists six different toxic chemicals to which the Decedent was exposed and alleges that

they are known carcinogens, “which Defendant knew, or in the ordinary exercise of ordinary care

should have known, were deleterious, poisonous, toxic and highly harmful to its employees’ health.”

Id. ¶¶ 6-10. The Complaint also lists the several ways in which Defendant acted negligently. Id. ¶

11. With respect to the LIA, Plaintiff alleges that Defendant failed to use “low emissions fuel such

as bio diesel” and “failed to provide the [Decedent] with locomotives that had proper and adequate

ventilation and/or air filtration systems, the failure of which allowed diesel fumes, dust, fibers and

toxins to accumulate and, subsequently, be inhaled by the [Decedent],” and that this conduct violated

49 C.F.R. §§ 229.7, 229.45, and 229.43(a)’s requirements and prohibitions. Pl.’s Compl. 12-15. In

addition, Plaintiff alleges that the Decedent’s exposure to the cancer-causing materials caused or

contributed to his developing leukemia, which ultimately led to his death in July 2018.


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         While Defendant contends that Plaintiff has failed to identify the chemicals to which the

Decedent was exposed, the location of his exposure, and the date of his initial exposure, the court

determines that these concerns can be addressed through the discovery process. The court also

disagrees that Plaintiff has not identified with sufficient specificity, for purposes of Rule 8, the

chemicals or carcinogens to which he was exposed or the locations of his exposure. Likewise,

specific or detailed questions regarding the number of railroad stations or areas that Defendant

worked, when the chemical exposure began, and levels of chemicals to which the Decedent was

exposed can be addressed and answered through the normal discovery process. Moreover, Defendant

cites no authority to show that such information must be pleaded by a party seeking to recover under

the FELA for negligence or violations of the LIA. As the court is able to deduce the legal theories

surrounding the claim(s) asserted by Plaintiff based on the facts alleged, it determines that Defendant

will not be legally prejudiced if it is required to file an answer or otherwise respond to the

Complaint. The court will, therefore, deny Defendant’s request under Rule 12(e) for a more definite

statement.

III.     Motion for Lone Pine Order

         A.       The Parties’ Contentions

         In support of its request for a Lone Pine order,3 Defendant similarly argues that entry of a

Lone Pine order is warranted in this case because it is faced with the burdensome task of identifying

“every yard, building, [and] locomotive where Plaintiff has worked; establishing the time frames of



         3
           Lone Pine orders derive from the 1986 decision in Lore v. Lone Pine Corporation, No. L-33606-85, 1986
WL 637507 (N.J. Super. Ct. 1986), in which the court entered a pretrial order requiring the plaintiffs to provide facts
in support of their claims through expert reports. See id; see also Acuna v. Brown & Root, Inc., 200 F.3d 335, 340 (5th
Cir. 2000).


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those assignments; and determining what, if any, . . . alleged toxic substances” the Decedent

encountered. Defendant also notes other financially, burdensome factors that it contends will affect

its ability to defend against Plaintiff’s claims. Def.’s Mot. 8.

        Plaintiff disagrees and contends, based on a five-factor test in In re Digitek Products Liability

Litigation, 264 F.R.D. 249, 255 (S.D. W.Va. 2010), that entry of a Lone Pine order in this case is

not appropriate. Plaintiff contends that, based on application of the five-factor test in In re Digitek,

the court in Marquez v. BNSF Railway, No. 17-CV-01153-CMA-MEH, 2017 U.S. Dist. LEXIS

124662 (D. Colo. Aug. 8, 2017), a case that is factually similar to this case, the court found no

extraordinary circumstances that required entry of a Lone Pine order. Plaintiff acknowledges that

the reasoning in Marquez is not controlling, but she maintains that it should be considered persuasive

because of the similarities between this and that case. Based on the reasoning in these and other

cases, Plaintiff contends that entry of a Lone Pine order, which is considered an extreme remedy,

would not be appropriate in this case, as it would give the defense an unfair advantage; shift the

burden to her to come forward with evidence to support her claims before conducting discovery; and

unnecessarily increase the cost of litigation. Pl.’s Resp. 9, 12.

        Defendant replies that the Fifth Circuit has never required or prohibited application of the

test relied on by Plaintiff or ever endorsed an analytical framework for determining whether entry

of a Lone Pine order is appropriate.           Def.’s Reply 3 (citing Abner v. Hercules, Inc.,

2:14CV63-KS-MTP, 2017 WL 2273182, at *2 (S.D. Miss. Jan. 3, 2017), report and

recommendation adopted in part, 2:14-CV-63-KS-MTP, 2017 WL 4236584 (S.D. Miss. Sept. 25,

2017), and Abner v. Hercules, Inc., 2:14-CV-63-KS-MTP, 2014 WL 5817542, at *2 (S.D. Miss.




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Nov. 10, 2014)).4 While no discovery has taken place in this case, Defendant contends that Lone

Pine Orders are considered “pre-discovery orders” that are “designed to handle the complex issues

and potential burdens on defendants and the court in mass tort litigation.” Def.’s Reply 3-4 (quoting

Acuna, 200 F.3d at 340). For this reason, Defendant contends that “[t]his case is ideal for the entry

of a Lone Pine [o]rder” and will help streamline discovery and minimize expense. Def.’s Reply 4-5.

         Defendant also asserts that Lone Pine orders are not limited to mass tort litigation and have

been entered in cases involving “fewer parties,” for example, in cases involving between twenty-

eight and seventy-one plaintiffs. In this regard, Defendant notes that, in Jenkins v. BNSF Railway

Company, United States District Judge John McBryde (“Judge McBryde”) acknowledged that

Jenkins only involved one plaintiff and one defendant but, nevertheless, indicated that entry of a

Lone Pine order was appropriate because Jenkins was one of approximately thirty cases filed by the

same attorney against Defendant that included the same broad allegations of exposure.5 In a

footnote, Defendant notes that Judge McBryde, in lieu of entering a Lone Pine order, ultimately

issued an order authorizing it to file:

         a “no evidence” motion for summary judgment, without prejudicing [its] right to file
         another motion for summary judgment if appropriate later in the litigation if
         necessary, in order to “fl[e]sh out whatever information defendant might need to
         proceed with discovery if the motion is denied or bring this case to an end if plaintiff
         lacks evidence to raise issue of fact as to the essential elements of her claim.”



         4
          Defendant actually cites Abner v. Hercules, Inc., No. 2:14-CV-63-KS-MTP, 2016 U.S. Dist. LEXIS 179956,
at *230 (S.D. Miss. Jan. 13, 2016), but this appears to be an incorrect citation, as the court was unable to find any
opinion that was entered in Abner on January 13, 2016, or any opinion containing 230 pages.
         5
         For support, Defendant submitted two orders that were entered by Judge McBryde in Jenkins on July 16, 2018,
and September 25, 2018, which are not in Westlaw’s or Lexis’s databases. Defendant also attached a Memorandum
Opinion and Order by Judge McBryde, granting Defendant’s motion for summary judgment in Jenkins v. BNSF Railway
Company 4:18-CV-178-A, 2018 WL 6181650, at *3 (N.D. Tex. Nov. 27, 2018).


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        [Defendant] would take no exception to this Court’s issuing a similar order in this
        case instead of a Lone Pine [o]rder.

Def.’s Reply 6 n.3. Defendant acknowledges that Plaintiff has “criticize[d] [its] Motion as a vehicle

to move for summary judgment prior to the completion of discovery,” but it contends that “Federal

Rule of Civil Procedure 56(b) expressly allows for a party to move for summary judgment at any

time until thirty days after the close of all discovery.” Id.

        Defendant further asserts that, “[i]n truth, a Lone Pine Order will only result in early

summary judgment if Plaintiff has no basis for the suit she has filed. If that is the situation, then

equating this motion with an early summary judgment motion – as Judge McBryde did in Jenkins

– is entirely appropriate” because a plaintiff’s “failure to comply with a Lone Pine order may result

in dismissal for non-compliance or other sanctions.” Id. at 7 (citing Acuna, 200 F.3d at 341).

Defendant agrees with Plaintiff that causation issues can be highly contentious and involve expert

testimony but argues that “[t]hese complexities are the precise reasons the court should order a Lone

Pine order” because “Plaintiff has alleged that the [D]ecedent developed (some kind of) leukemia

from his exposure to toxic substances and carcinogens over the course of twenty-two years.” Def.’s

Reply 7 (citation omitted). Defendant, therefore, argues that,

        [b]efore burdening [Defendant] and this court with excessive time, high costs,
        voluminous discovery, and essentially a broad fishing expedition to determine the
        cause of the decedent’s cancer, Plaintiff should be required to lay forth some basis
        for her claims. Plaintiff’s pleadings of “what she believes” to have “caused the
        decedent his injuries” is insufficient and meritless.

Id. at 7-8.




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       B.      Analysis of Whether a Lone Pine Order is Warranted in this Case

       No federal rule expressly provides for Lone Pine orders, but some courts have interpreted

Rule 16 as conferring authority on district courts in complex litigation to use this or other means to

manage discovery. See, e.g., Abner, 2017 WL 2273182, at *2. As noted by Defendant, Lone Pine

orders are “pre-discovery orders designed to handle the complex issues and potential burdens on

defendants and the court in mass tort litigation.” Id. Complex mass tort litigation typically involves

a multitude of plaintiffs or a multitude of defendants. Id. The basic purpose of a Lone Pine order is

to require the plaintiff to provide basic facts about his or her claims or risk having those claims be

dismissed. Id. Lone Pine orders “identify and expose potentially meritless claims and streamline

litigation in complex mass tort cases.” Steering Comm. v. Exxon Mobil Corp., 461 F.3d 598, 604 (5th

Cir. 2006). District judges have wide discretion in determining whether to grant or deny a request

for entry of Lone Pine orders in managing the discovery process under Federal Rule of Civil

Procedure 16. Acuna, 200 F.3d at 340. In the absence of complex mass tort litigation, courts

generally do not grant requests for Lone Pine orders until after thorough discovery has taken place.

See, e.g., Roth v Cabot Oil & Gas Corp., 287 F.R.D. 293, 300 (M.D. Pa. 2012) (quoting In re

Digitek, 264 F.R.D. at 259, for the proposition that “Resorting to and crafting a Lone Pine order

should only occur whe[n] existing procedural devices explicitly at the disposal of the parties by

statute and federal rule have been exhausted or whe[n] they cannot accommodate the unique issues

of this litigation. We have not reached that point.”). This is because Lone Pine orders are normally

used as a last resort or procedural option, when all other procedural options have been exhausted.

See Roth, 287 F.R.D. at 300; In re Digitek, 264 F.R.D. at 259.




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        The court determines that Defendant’s request for a Lone Pine order is premature, and entry

of such an order in this case is not warranted. A Lone Pine order is typically granted when there are

multiple parties, whereas this case involves one plaintiff and one defendant. Although Defendant

indicates that multiple cases have been filed against it by the same attorney on behalf of different

plaintiffs, the court only has before it two such cases. Accordingly, this case is not, by definition,

a mass tort litigation. Further, that the Decedent worked at various locations of Defendant’s railroad

for twenty-two years does not necessarily make this litigation complex, and the court does not

believe that Defendant should be rewarded or that Plaintiff should be penalized simply because the

Decedent, during his twenty-two years of employment with Defendant, worked at a number of

Defendant’s railroad locations. Defendant, as the Decedent’s employer and the railroad carrier,

should also be in as good, if not better, position than Plaintiff to know or determine, based on

reference to its own internal records, the railroad locations where the Decedent worked, when he

worked at these locations, the types of chemicals it used at these locations during these times, and

the types of safety precautions, if any, it took or did not take.

        Moreover, the court agrees with Plaintiff that Defendant’s request for entry of a Lone Pine

order, shortly after the filing of this case and before any discovery has been conducted, is an

improper attempt to shift the burden to Plaintiff to come forward with evidence at the pleading stage

of this case to establish the allegations in her Complaint in contravention of Rule 8(a)’s “notice

pleading” standard. Accordingly, the court will deny Defendant’s request for a Lone Pine order, as

well as its alternative request to file a “no-evidence” summary judgment motion at this early stage

when no discovery has yet to take place. The court also notes that, as a general rule, it does not allow




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parties to file more than one summary judgment motion, and it is not likely to make an exception or

vary from that rule in this case unless good cause is established.

IV.     Conclusion

        For the reasons herein explained, the court denies Defendant’s Motion for More Definite

Statement, denies the Motion for Lone Pine Order, and denies Defendant’s alternative request to file

a “no-evidence” summary judgment motion at this early stage of the case (Doc. 17). By separate

order, the court will direct the parties to submit a joint status report and, after receiving that report,

a scheduling order that governs the discovery, the filing of dispositive motions, and other matters

in this case will be entered.

        It is so ordered this 4th day of April, 2019.



                                                         _________________________________
                                                         Sam A. Lindsay
                                                         United States District Judge




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